                                                                       Case 1:18-cv-08855-LGS-SN Document 43-1 Filed 06/14/19 Page 1 of 7
                                                                                    Espinosa v. Abraham Refrigeration A/C Corp. , 18 Civ. 8855 (LGS)(NS)
                                                                                                 Damages Calculations for Ysael Espinosa
                Period
                                            Number of   Time     Hours Over                                        Hourly                                      OT Wage       Unpaid      OT Wages      Unpaid      NYLL      Total
                                                                                                                               Min. Wage Spread-of-
                                            WTPA Days Worked Per   40 Per   Salary Paid                           Wage Rate                                    Premium      Minimum      Owed Per     Spread-of- Liquidated Damages
       From                    To                                                                                                Rate    Hours Shifts
                                             Worked   Workweek Workweek                                             Paid                                        Owed         Wages        Week        Hours Pay Damages Per Period

            1/8/18            1/14/18                4                      36.87             0         $200.00        $5.42        $13.00              0.00       $14.08      $279.47        $0.00        $0.00   $279.47     $558.94
           1/15/18            1/21/18                6                      49.72          9.72         $300.00        $6.03        $13.00              0.00       $13.47      $278.80      $130.93        $0.00   $409.73     $819.46
           1/22/18            1/28/18                6                      48.07          8.07         $300.00        $6.24        $13.00              0.00       $13.26      $270.40      $107.01        $0.00   $377.41     $754.82
           1/29/18             2/4/18                6                      52.55         12.55         $300.00        $5.71        $13.00              1.00       $13.79      $291.60      $173.06       $13.00   $477.66     $955.32
            2/5/18            2/11/18                6                      60.72         20.72         $300.00        $4.94        $13.00              4.00       $14.56      $322.40      $301.68       $52.00   $676.08   $1,352.16
           2/12/18            2/18/18                6                         59            19         $300.00        $5.08        $13.00              4.00       $14.42      $316.80      $273.98       $52.00   $642.78   $1,285.56
           2/19/18            2/25/18                6                       60.8          20.8         $300.00        $4.93        $13.00              4.00       $14.57      $322.80      $303.06       $52.00   $677.86   $1,355.72
           2/26/18             3/4/18                6                      59.25         19.25         $300.00        $5.06        $13.00              5.00       $14.44      $317.60      $277.97       $65.00   $660.57   $1,321.14
            3/5/18            3/11/18                6                      57.75         17.75         $300.00        $5.19        $13.00              3.00       $14.31      $312.40      $254.00       $39.00   $605.40   $1,210.80
           3/12/18            3/18/18                6                      62.18         22.18         $300.00        $4.82        $13.00              5.00       $14.68      $327.20      $325.60       $65.00   $717.80   $1,435.60
           3/19/18            3/25/18                6                      53.32         13.32         $300.00        $5.63        $13.00              1.00       $13.87      $294.80      $184.75       $13.00   $492.55     $985.10
           3/26/18             4/1/18                6                      54.35         14.35         $300.00        $5.52        $13.00              1.00       $13.98      $299.20      $200.61       $13.00   $512.81   $1,025.62
            4/2/18             4/8/18                6                      55.48         15.48         $300.00        $5.41        $13.00              2.00       $14.09      $303.60      $218.11       $26.00   $547.71   $1,095.42
            4/9/18            4/15/18                6                      56.77         16.77         $340.00        $5.99        $13.00              3.00       $13.51      $280.40      $226.56       $39.00   $545.96   $1,091.92
           4/16/18            4/22/18                6                         52            12         $300.00        $5.77        $13.00              0.00       $13.73      $289.20      $164.76        $0.00   $453.96     $907.92
           4/23/18            4/29/18                6                      61.05         21.05         $360.00        $5.90        $13.00              4.00       $13.60      $284.00      $286.28       $52.00   $622.28   $1,244.56
           4/30/18             5/6/18                7                      69.47         29.47         $300.00        $4.32        $13.00              4.00       $15.18      $347.20      $447.35       $52.00   $846.55   $1,693.10
            5/7/18            5/13/18                6                      56.97         16.97         $300.00        $5.27        $13.00              4.00       $14.23      $309.20      $241.48       $52.00   $602.68   $1,205.36
           5/14/18            5/20/18                6                      60.08         20.08         $300.00        $4.99        $13.00              6.00       $14.51      $320.40      $291.36       $78.00   $689.76   $1,379.52
           5/21/18            5/27/18                6                      60.53         20.53         $300.00        $4.96        $13.00              5.00       $14.54      $321.60      $298.51       $65.00   $685.11   $1,370.22
           5/28/18             6/3/18                7                      66.42         26.42         $300.00        $4.52        $13.00              3.00       $14.98      $339.20      $395.77       $39.00   $773.97   $1,547.94
            6/4/18            6/10/18                6                      60.42         20.42         $300.00        $4.97        $13.00              4.00       $14.53      $321.20      $296.70       $52.00   $669.90   $1,339.80
           6/11/18            6/17/18                6                      56.83         16.83         $300.00        $5.28        $13.00              1.00       $14.22      $308.80      $239.32       $13.00   $561.12   $1,122.24
           6/18/18            6/24/18                6                      45.58          5.58         $300.00        $6.58        $13.00              1.00       $12.92      $256.80       $72.09       $13.00   $341.89     $683.78
           6/25/18             7/1/18                6                      57.83         17.83         $300.00        $5.19        $13.00              3.00       $14.31      $312.40      $255.15       $39.00   $606.55   $1,213.10
            7/2/18             7/8/18                6                      44.62          4.62         $300.00        $6.72        $13.00              0.00       $12.78      $251.20       $59.04        $0.00   $310.24     $620.48
            7/9/18            7/15/18                6                      55.42         15.42         $300.00        $5.41        $13.00              1.00       $14.09      $303.60      $217.27       $13.00   $533.87   $1,067.74
           7/16/18            7/22/18                4                      31.67             0         $300.00        $9.47        $13.00              1.00       $10.03      $111.80        $0.00       $13.00   $124.80     $249.60



                                                                                     NYLL Interest Due
                                                                                                     Days b/w Midpoint &                         Daily           TOTAL
    Start Date            End Date                Days              Days / 2        Midpoint                                   Wages Due
                                                                                                            Today                            Interest Due      INTEREST
     1/13/18               7/19/18                 187                 94            4/17/18                 423               $15,446.47       $3.81          $1,611.09




                                                          Wage Theft Prevention Act Statutory Damages

                                                                                                                   Amounts Due (up to
              Violation                         Amount per workday                  Work days since 2/27/15                                    TOTAL
                                                                                                                       $5,000)
   Notices - NYLL § 195(1)                                   $50                               166                      $5,000.00
                                                                                                                                              $10,000.00
  Paystubs - NYLL § 195(3)                                   $250                              166                      $5,000.00



                   TOTAL DAMAGES:                                                                       $42,504.03

*Total  does  not  include  attorneys'  fees  or  costs




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        Espinosa v. Abraham Refrigeration A/C Corp. , 18 Civ. 8855 (LGS)(NS)
                       Damages Calculations for Ysael Espinosa
                                                                 Minus 20-
                                                                                As Numbers &
Days Worked      Time In           Time Out     Hours Worked    Minute Daily
                                                                                Weekly Totals
                                                                   Break
   1/8/18
   1/9/18
  1/10/18      8:42:00 AM          5:33:00 PM            8:51           8:31               8.52
  1/11/18      8:24:00 AM          5:31:00 PM            9:07           8:47               8.78
  1/12/18      8:22:00 AM          5:37:00 PM            9:15           8:55               8.92
  1/13/18      8:23:00 AM          6:02:00 PM            9:39           9:19               9.32
  1/14/18                                                            WEEK:                36.87
                                                                SOH SHIFTS:                   0

  1/15/18      8:00:00 AM          5:00:00 PM            9:00           8:40               8.67
  1/16/18      8:00:00 AM          5:00:00 PM            9:00           8:40               8.67
  1/17/18      8:22:00 AM          5:00:00 PM            8:38           8:18               8.30
  1/18/18      8:33:00 AM          5:00:00 PM            8:27           8:07               8.12
  1/19/18      8:14:00 AM          5:00:00 PM            8:46           8:26               8.43
  1/20/18      9:08:00 AM          5:00:00 PM            7:52           7:32               7.53
  1/21/18                                                            WEEK:                49.72
                                                                SOH SHIFTS:                   0

  1/22/18      9:12:00 AM          5:00:00 PM            7:48           7:28               7.47
  1/23/18      9:32:00 AM          5:00:00 PM            7:28           7:08               7.13
  1/24/18      9:02:00 AM          5:00:00 PM            7:58           7:38               7.63
  1/25/18      8:00:00 AM          5:00:00 PM            9:00           8:40               8.67
  1/26/18      8:07:00 AM          5:00:00 PM            8:53           8:33               8.55
  1/27/18      8:03:00 AM          5:00:00 PM            8:57           8:37               8.62
  1/28/18                                                            WEEK:                48.07
                                                                SOH SHIFTS:                0.00

  1/29/18      8:30:00 AM          5:00:00 PM            8:30           8:10               8.17
  1/30/18      8:22:00 AM          5:00:00 PM            8:38           8:18               8.30
  1/31/18      8:19:00 AM          5:00:00 PM            8:41           8:21               8.35
   2/1/18      8:00:00 AM          6:12:00 PM           10:12           9:52               9.87
   2/2/18      8:00:00 AM          5:22:00 PM            9:22           9:02               9.03
   2/3/18      8:02:00 AM          5:12:00 PM            9:10           8:50               8.83
   2/4/18                                                            WEEK:                52.55
                                                                SOH SHIFTS:                1.00

   2/5/18      8:00:00 AM          5:32:00 PM            9:32            9:12              9.20
   2/6/18      8:00:00 AM          5:22:00 PM            9:22            9:02              9.03
   2/7/18      7:08:00 AM          6:33:00 PM           11:25           11:05             11.08
   2/8/18      8:00:00 AM          6:41:00 PM           10:41           10:21             10.35
   2/9/18      8:00:00 AM          7:22:00 PM           11:22           11:02             11.03
  2/10/18      7:52:00 AM          6:13:00 PM           10:21           10:01             10.02




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        Espinosa v. Abraham Refrigeration A/C Corp. , 18 Civ. 8855 (LGS)(NS)
                       Damages Calculations for Ysael Espinosa
                                                                 Minus 20-
                                                                                As Numbers &
Days Worked      Time In           Time Out     Hours Worked    Minute Daily
                                                                                Weekly Totals
                                                                   Break

  2/11/18                                                            WEEK:                60.72
                                                                SOH SHIFTS:                4.00

  2/12/18      8:00:00 AM          5:32:00 PM            9:32           9:12               9.20
  2/13/18      8:00:00 AM          5:12:00 PM            9:12           8:52               8.87
  2/14/18      8:00:00 AM          6:11:00 PM           10:11           9:51               9.85
  2/15/18      8:00:00 AM          6:06:00 PM           10:06           9:46               9.77
  2/16/18      8:00:00 AM          6:30:00 PM           10:30          10:10              10.17
  2/17/18      7:00:00 AM          6:29:00 PM           11:29          11:09              11.15
  2/18/18                                                            WEEK:                59.00
                                                                SOH SHIFTS:                4.00

  2/19/18      8:00:00 AM          5:03:00 PM            9:03           8:43               8.72
  2/20/18      7:09:00 AM          6:00:00 PM           10:51          10:31              10.52
  2/21/18      8:00:00 AM          6:21:00 PM           10:21          10:01              10.02
  2/22/18      7:43:00 AM          7:13:00 PM           11:30          11:10              11.17
  2/23/18      8:12:00 AM          8:07:00 PM           11:55          11:35              11.58
  2/24/18      7:52:00 AM          5:00:00 PM            9:08           8:48               8.80
  2/25/18                                                            WEEK:                60.80
                                                                SOH SHIFTS:                4.00

  2/26/18      8:07:00 AM          5:22:00 PM            9:15           8:55               8.92
  2/27/18      8:00:00 AM          6:11:00 PM           10:11           9:51               9.85
  2/28/18      8:02:00 AM          6:08:00 PM           10:06           9:46               9.77
   3/1/18      8:00:00 AM          6:32:00 PM           10:32          10:12              10.20
   3/2/18      8:00:00 AM          6:31:00 PM           10:31          10:11              10.18
   3/3/18      8:00:00 AM          6:40:00 PM           10:40          10:20              10.33
   3/4/18                                                            WEEK:                59.25
                                                                SOH SHIFTS:                5.00

   3/5/18      8:02:00 AM          6:50:00 PM           10:48          10:28              10.47
   3/6/18      8:02:00 AM          6:52:00 PM           10:50          10:30              10.50
   3/7/18      8:01:00 AM          6:12:00 PM           10:11           9:51               9.85
   3/8/18      8:11:00 AM          5:19:00 PM            9:08           8:48               8.80
   3/9/18      8:03:00 AM          5:00:00 PM            8:57           8:37               8.62
  3/10/18      8:12:00 AM          6:03:00 PM            9:51           9:31               9.52
  3/11/18                                                            WEEK:                57.75
                                                                SOH SHIFTS:                3.00

  3/12/18      8:03:00 AM          5:00:00 PM            8:57            8:37              8.62
  3/13/18      8:04:00 AM          6:31:00 PM           10:27           10:07             10.12
  3/14/18      8:02:00 AM          7:11:00 PM           11:09           10:49             10.82




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           Espinosa v. Abraham Refrigeration A/C Corp. , 18 Civ. 8855 (LGS)(NS)
                        Damages Calculations for Ysael Espinosa
                                                                 Minus 20-
                                                                               As Numbers &
Days Worked       Time In          Time Out     Hours Worked    Minute Daily
                                                                               Weekly Totals
                                                                   Break

  3/15/18        8:08:00 AM        7:26:00 PM           11:18          10:58             10.97
  3/16/18        8:09:00 AM        7:20:00 PM           11:11          10:51             10.85
  3/17/18        8:13:00 AM        7:22:00 PM           11:09          10:49             10.82
  3/18/18                                                            WEEK:               62.18
                                                                SOH SHIFTS:               5.00

  3/19/18        8:11:00 AM        5:00:00 PM            8:49           8:29              8.48
  3/20/18        8:13:00 AM        5:00:00 PM            8:47           8:27              8.45
  3/21/18        8:12:00 AM        5:00:00 PM            8:48           8:28              8.47
  3/22/18        8:00:00 AM        5:02:00 PM            9:02           8:42              8.70
  3/23/18        8:00:00 AM        5:31:00 PM            9:31           9:11              9.18
  3/24/18        8:00:00 AM        6:22:00 PM           10:22          10:02             10.03
  3/25/18                                                            WEEK:               53.32
                                                                SOH SHIFTS:               1.00

  3/26/18        8:07:00 AM        5:00:00 PM            8:53           8:33              8.55
  3/27/18        8:02:00 AM        5:00:00 PM            8:58           8:38              8.63
  3/28/18        7:57:00 AM        5:00:00 PM            9:03           8:43              8.72
  3/29/18        7:59:00 AM        6:12:00 PM           10:13           9:53              9.88
  3/30/18        7:52:00 AM        5:11:00 PM            9:19           8:59              8.98
  3/31/18        8:12:00 AM        6:07:00 PM            9:55           9:35              9.58
   4/1/18                                                            WEEK:               54.35
                                                                SOH SHIFTS:               1.00

  4/2/18         8:00:00 AM        5:22:00 PM            9:22           9:02              9.03
  4/3/18         8:00:00 AM        5:14:00 PM            9:14           8:54              8.90
  4/4/18         8:00:00 AM        5:11:00 PM            9:11           8:51              8.85
  4/5/18         8:02:00 AM        5:00:00 PM            8:58           8:38              8.63
  4/6/18         8:03:00 AM        6:34:00 PM           10:31          10:11             10.18
  4/7/18         8:09:00 AM        6:22:00 PM           10:13           9:53              9.88
  4/8/18                                                             WEEK:               55.48
                                                                SOH SHIFTS:               2.00

   4/9/18        8:00:00 AM        6:20:00 PM           10:20          10:00             10.00
  4/10/18        8:00:00 AM        6:13:00 PM           10:13           9:53              9.88
  4/11/18        8:00:00 AM        6:14:00 PM           10:14           9:54              9.90
  4/12/18        8:00:00 AM        5:31:00 PM            9:31           9:11              9.18
  4/13/18        8:00:00 AM        5:21:00 PM            9:21           9:01              9.02
  4/14/18        8:00:00 AM        5:07:00 PM            9:07           8:47              8.78
  4/15/18                                                            WEEK:               56.77
                                                                SOH SHIFTS:               3.00




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        Espinosa v. Abraham Refrigeration A/C Corp. , 18 Civ. 8855 (LGS)(NS)
                       Damages Calculations for Ysael Espinosa
                                                                 Minus 20-
                                                                                As Numbers &
Days Worked      Time In           Time Out     Hours Worked    Minute Daily
                                                                                Weekly Totals
                                                                   Break

  4/16/18      8:00:00 AM          5:00:00 PM            9:00           8:40               8.67
  4/17/18      8:00:00 AM          5:00:00 PM            9:00           8:40               8.67
  4/18/18      8:00:00 AM          5:00:00 PM            9:00           8:40               8.67
  4/19/18      8:00:00 AM          5:00:00 PM            9:00           8:40               8.67
  4/20/18      8:00:00 AM          5:00:00 PM            9:00           8:40               8.67
  4/21/18      8:00:00 AM          5:00:00 PM            9:00           8:40               8.67
  4/22/18                                                            WEEK:                52.00
                                                                SOH SHIFTS:                0.00

  4/23/18      8:00:00 AM          5:03:00 PM            9:03           8:43               8.72
  4/24/18      8:00:00 AM          5:02:00 PM            9:02           8:42               8.70
  4/25/18      8:00:00 AM          7:32:00 PM           11:32          11:12              11.20
  4/26/18      8:00:00 AM          6:40:00 PM           10:40          10:20              10.33
  4/27/18      8:00:00 AM          7:32:00 PM           11:32          11:12              11.20
  4/28/18      8:00:00 AM          7:14:00 PM           11:14          10:54              10.90
  4/29/18                                                            WEEK:                61.05
                                                                SOH SHIFTS:                4.00

  4/30/18      8:00:00 AM          5:33:00 PM            9:33           9:13               9.22
   5/1/18      8:00:00 AM          5:11:00 PM            9:11           8:51               8.85
   5/2/18      8:00:00 AM          6:20:00 PM           10:20          10:00              10.00
   5/3/18      8:00:00 AM          6:31:00 PM           10:31          10:11              10.18
   5/4/18      8:00:00 AM          6:54:00 PM           10:54          10:34              10.57
   5/5/18      8:00:00 AM          6:38:00 PM           10:38          10:18              10.30
   5/6/18      8:00:00 AM          6:41:00 PM           10:41          10:21              10.35
                                                                     WEEK:                69.47
                                                                SOH SHIFTS:                4.00

   5/7/18
   5/8/18      8:00:00 AM          6:03:00 PM           10:03           9:43               9.72
   5/9/18      8:00:00 AM          6:00:00 PM           10:00           9:40               9.67
  5/10/18      8:00:00 AM          6:42:00 PM           10:42          10:22              10.37
  5/11/18      8:00:00 AM          6:13:00 PM           10:13           9:53               9.88
  5/12/18      8:00:00 AM          5:00:00 PM            9:00           8:40               8.67
  5/13/18      8:00:00 AM          5:00:00 PM            9:00           8:40               8.67
                                                                     WEEK:                56.97
                                                                SOH SHIFTS:                4.00

  5/14/18      8:00:00 AM          6:11:00 PM           10:11            9:51              9.85
  5/15/18      8:00:00 AM          6:13:00 PM           10:13            9:53              9.88
  5/16/18      8:00:00 AM          6:41:00 PM           10:41           10:21             10.35
  5/17/18      8:00:00 AM          6:33:00 PM           10:33           10:13             10.22




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        Espinosa v. Abraham Refrigeration A/C Corp. , 18 Civ. 8855 (LGS)(NS)
                       Damages Calculations for Ysael Espinosa
                                                                 Minus 20-
                                                                               As Numbers &
Days Worked      Time In           Time Out     Hours Worked    Minute Daily
                                                                               Weekly Totals
                                                                   Break

  5/18/18      8:00:00 AM          6:23:00 PM           10:23          10:03             10.05
  5/19/18      8:00:00 AM          6:04:00 PM           10:04           9:44              9.73
  5/20/18                                                            WEEK:               60.08
                                                                SOH SHIFTS:               6.00

  5/21/18      8:00:00 AM          6:02:00 PM           10:02           9:42              9.70
  5/22/18      8:02:00 AM          6:31:00 PM           10:29          10:09             10.15
  5/23/18      8:00:00 AM          5:32:00 PM            9:32           9:12              9.20
  5/24/18      8:00:00 AM          6:12:00 PM           10:12           9:52              9.87
  5/25/18      8:00:00 AM          6:44:00 PM           10:44          10:24             10.40
  5/26/18      8:00:00 AM          7:33:00 PM           11:33          11:13             11.22
  5/27/18                                                            WEEK:               60.53
                                                                SOH SHIFTS:               5.00

  5/28/18      8:00:00 AM          6:32:00 PM           10:32          10:12             10.20
  5/29/18      9:34:00 AM          6:12:00 PM            8:38           8:18              8.30
  5/30/18      8:12:00 AM          6:42:00 PM           10:30          10:10             10.17
  5/31/18      8:04:00 AM          6:33:00 PM           10:29          10:09             10.15
   6/1/18      8:00:00 AM          5:33:00 PM            9:33           9:13              9.22
   6/2/18      8:00:00 AM          5:41:00 PM            9:41           9:21              9.35
   6/3/18      8:00:00 AM          5:22:00 PM            9:22           9:02              9.03
                                                                     WEEK:               66.42
                                                                SOH SHIFTS:               3.00

   6/4/18      8:00:00 AM          5:14:00 PM            9:14           8:54              8.90
   6/5/18      8:00:00 AM          5:11:00 PM            9:11           8:51              8.85
   6/6/18      8:00:00 AM          6:31:00 PM           10:31          10:11             10.18
   6/7/18      8:00:00 AM          7:03:00 PM           11:03          10:43             10.72
   6/8/18      8:00:00 AM          7:09:00 PM           11:09          10:49             10.82
   6/9/18      8:00:00 AM          7:17:00 PM           11:17          10:57             10.95
  6/10/18                                                            WEEK:               60.42
                                                                SOH SHIFTS:               4.00

  6/11/18      8:00:00 AM          6:04:00 PM           10:04           9:44              9.73
  6/12/18      8:00:00 AM          5:32:00 PM            9:32           9:12              9.20
  6/13/18      8:00:00 AM          5:41:00 PM            9:41           9:21              9.35
  6/14/18      8:00:00 AM          5:43:00 PM            9:43           9:23              9.38
  6/15/18      8:00:00 AM          5:52:00 PM            9:52           9:32              9.53
  6/16/18      8:00:00 AM          5:58:00 PM            9:58           9:38              9.63
  6/17/18                                                            WEEK:               56.83
                                                                SOH SHIFTS:               1.00




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           Espinosa v. Abraham Refrigeration A/C Corp. , 18 Civ. 8855 (LGS)(NS)
                        Damages Calculations for Ysael Espinosa
                                                                 Minus 20-
                                                                                As Numbers &
Days Worked       Time In          Time Out     Hours Worked    Minute Daily
                                                                                Weekly Totals
                                                                   Break

  6/18/18        8:00:00 AM        5:00:00 PM            9:00           8:40               8.67
  6/19/18        8:00:00 AM        5:00:00 PM            9:00           8:40               8.67
  6/20/18        8:00:00 AM        6:32:00 PM           10:32          10:12              10.20
  6/21/18        8:00:00 AM        5:08:00 PM            9:08           8:48               8.80
  6/22/18        8:00:00 AM        5:35:00 PM            9:35           9:15               9.25
  6/23/18                                                            WEEK:                45.58
  6/24/18                                                       SOH SHIFTS:                1.00

  6/25/18        8:00:00 AM        6:13:00 PM           10:13           9:53               9.88
  6/26/18        8:00:00 AM        6:34:00 PM           10:34          10:14              10.23
  6/27/18        8:00:00 AM        5:00:00 PM            9:00           8:40               8.67
  6/28/18        8:00:00 AM        5:00:00 PM            9:00           8:40               8.67
  6/29/18        8:00:00 AM        7:41:00 PM           11:41          11:21              11.35
  6/30/18        8:00:00 AM        5:22:00 PM            9:22           9:02               9.03
   7/1/18                                                            WEEK:                57.83
                                                                SOH SHIFTS:                3.00

  7/2/18         8:00:00 AM        5:31:00 PM            9:31            9:11              9.18
  7/3/18         8:00:00 AM        5:42:00 PM            9:42            9:22              9.37
  7/4/18
  7/5/18         8:42:00 AM        5:14:00 PM            8:32           8:12               8.20
  7/6/18         8:00:00 AM        5:32:00 PM            9:32           9:12               9.20
  7/7/18         8:00:00 AM        5:00:00 PM            9:00           8:40               8.67
  7/8/18                                                             WEEK:                44.62
                                                                SOH SHIFTS:                0.00

   7/9/18        8:00:00 AM        5:00:00 PM            9:00           8:40               8.67
  7/10/18        8:00:00 AM        6:32:00 PM           10:32          10:12              10.20
  7/11/18        8:00:00 AM        5:41:00 PM            9:41           9:21               9.35
  7/12/18        8:00:00 AM        5:31:00 PM            9:31           9:11               9.18
  7/13/18        8:00:00 AM        5:41:00 PM            9:41           9:21               9.35
  7/14/18        8:00:00 AM        5:00:00 PM            9:00           8:40               8.67
  7/15/18                                                            WEEK:                55.42
                                                                SOH SHIFTS:                1.00

  7/16/18        8:00:00 AM      5:42:00 PM              9:42           9:22               9.37
  7/17/18        8:00:00 AM      5:00:00 PM              9:00           8:40               8.67
  7/18/18        8:00:00 AM      6:18:00 PM             10:18           9:58               9.97
  7/19/18        8:00:00 AM     12:00:00 PM              4:00           3:40               3.67
                                                                     WEEK:                31.67
                                                                SOH SHIFTS:                1.00




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